Case 10-93904-BHL-11             Doc 1047       Filed 02/21/12        EOD 02/21/12 13:33:28      Pg 1 of 5




                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF INDIANA
                                     NEW ALBANY DIVISION

 In re:                                                           )   Chapter 11
                                                                  )
 EASTERN LIVESTOCK CO., LLC, et al.,1                             )   Case No. 10-93904-BHL-11
                                                                  )
                           Debtors.                               )   JOINTLY ADMINISTERED


           APPLICATION TO EMPLOY KEN BYRD REALTY & AUCTION, INC.
                              AS AUCTIONEER

                   James A. Knauer, the chapter 11 trustee appointed in this case ("Trustee"),

 respectfully moves this Court for an order authorizing the Trustee to employ Ken Byrd Realty &

 Auction, Inc. ("Ken Byrd Auction") as auctioneer pursuant to the terms and conditions of the

 Auction Listing Contract (the "Agreement") attached as Exhibit A and Rule B-6005-1 of the

 Local Rules of the United States Bankruptcy Court for the Southern District of Indiana ("Rule B-

 6005-1"). In support of this application ("Application"), the Trustee respectfully represents the

 following:

                   1.      Eastern Livestock Co., LLC ("Debtor") owns certain real estate located in

 Harrison County, Indiana and commonly known as 8394 Tandy Road, Lanesville, Indiana (the

 "Real Estate").

                   2.      The Trustee and Peoples Bank &Trust Company of Pickett County

 ("Peoples") are parties to that certain Settlement Agreement dated January 27, 2012 (the

 "Settlement Agreement") by which, subject to Court approval, the Trustee agreed to seek

 authority to hire Ken Byrd Auction to conduct an auction sale of the Real Estate. This

 Application is filed pursuant to the terms of and in furtherance of the Settlement Agreement.


 1
     The Debtor entities are Eastern Livestock Co., LLC and Okie Farms, L.L.C.
Case 10-93904-BHL-11               Doc 1047       Filed 02/21/12        EOD 02/21/12 13:33:28            Pg 2 of 5




                    3.       The Trustee believes, in his business judgment that an auction sale of the

 Real Estate pursuant to the terms and conditions of the Agreement and the Settlement Agreement

 will result in the greatest recovery for Debtor's estate.

                    4.       The Trustee also believes that allowing the successful bidder at the auction

 sale of the Real Estate to pay 10% of the winning bid at the auction, with the remaining 90% to

 be paid within thirty (30) days (all as provided in the Agreement), will incentivize bidding and

 maximize the purchase price to be realized from the sale of the Real Estate. Accordingly, the

 Trustee asks that, for purposes of Rule B-6005-1, the "date of sale" of the Real Estate be deemed

 to occur upon the earlier of i) the date that Ken Byrd Auction receives the "Gross Sales

 Proceeds" and ii) the date the Trustee receives his share of the "Net Sales Proceeds" (if Peoples

 submits the successful bid at the auction).2

                    4.       Ken Byrd Auction is duly qualified to conduct an auction sale of the Real

 Estate.

                    5.       The Trustee has been informed and believes that Ken Byrd Auction is

 disinterested as that term is defined in 11 U.S.C. § 101. Ken Byrd Auction neither represents nor

 holds any interest adverse to the interests of the bankruptcy estate with respect to the matters on

 which Ken Byrd Auction is to be employed.

                    6.       Ken Byrd Auction is aware of the provisions of 11 U.S.C. § 328, and has

 agreed, notwithstanding the terms and conditions of employment set forth in this Application,

 that the Court may allow compensation different from the terms provided in the Application if

 the terms and conditions prove to have been improvident in light of developments which could

 not have been anticipated at the time the terms and conditions were fixed.


 2
     "Gross Sales Proceeds" and "Net Sales Proceeds" are defined in the Settlement Agreement. See Dock. No. 990.


                                                          2
 9101445_1.DOC
Case 10-93904-BHL-11          Doc 1047      Filed 02/21/12    EOD 02/21/12 13:33:28         Pg 3 of 5




                 7.     Because the Trustee is unable to determine the gross proceeds likely to be

 realized from the sale of the Real Estate, the Trustee requests that the order approving this

 Application waive the bond requirement contained in Rule-B-6005-1.

                 WHEREFORE, the Trustee respectfully requests that the Court enter an order

 approving the employment of Ken Byrd Auction on the terms and conditions described herein

 and grant the Trustee all other just and proper relief.

                                                Respectfully submitted,

                                                FAEGRE BAKER DANIELS, LLP

                                                By: /s/ Dustin R. DeNeal

 James M. Carr (#3128-49)                        Counsel for James A. Knauer, Chapter 11 Trustee
 Kevin Toner (#11343-49)
 Terry E. Hall (#22041-49)
 Harmony Mappes (# 27237-49)
 Dustin R. DeNeal (#27535-49)
 300 N. Meridian Street, Suite 2700
 Indianapolis, IN 46204-1782
 Telephone: (317) 237-0300
 Facsimile: (317) 237-1000
 jim.carr@bakerd.com
 kevin.toner@bakerd.com
 terry.hall@bakerd.com
 harmony.mappes@bakerd.com
 dustin.deneal@bakerd.com

 Wendy W. Ponader (#14633-49)
 600 East 96th Street, Suite 600
 Indianapolis, IN 46240
 Telephone: (317) 569-9600
 Facsimile: (317) 569-4800
 wendy.ponader@bakerd.com




                                                   3
 9101445_1.DOC
Case 10-93904-BHL-11            Doc 1047     Filed 02/21/12         EOD 02/21/12 13:33:28             Pg 4 of 5




                                   CERTIFICATE OF SERVICE

         I hereby certify that on February 21, 2012, a copy of the foregoing pleading was filed
 electronically. Notice of this filing will be sent to the following parties through the Court's
 Electronic Case Filing System. Parties may access this filing through the Court's system.
  David L. Abt                       C. R. Bowles, Jr                     John Hunt Lovell
  davidabt@mwt.net                   cbowles@ bgdlegal.com                john@lovell-law.net

  Mark A. Robinson                   Jeffrey R. Erler                     Edward M King
  mrobinson@vhrlaw.com               jeffe@bellnunnally.com               tking@fbtlaw.com

  Randall D. LaTour                  John R. Carr, III                    Bret S. Clement
  rdlatour@vorys.com                 jrciii@acs-law.com                   bclement@acs-law.com

  Daniel J. Donnellon                Stephen A. Weigand                   John Frederick Massouh
  ddonnellon@ficlaw.com              sweigand@ficlaw.com                  john.massouh@sprouselaw.com

  John W. Ames                       Robert Hughes Foree                  Kim Martin Lewis
  james@bgdlegal.com                 robertforee@bellsouth.net            kim.lewis@dinslaw.com

  Jeremy S Rogers                    Ivana B. Shallcross                  Deborah Caruso
  Jeremy.Rogers@dinslaw.com          ishallcross@ bgdlegal.com            dcaruso@daleeke.com

  Meredith R. Thomas                 William Robert Meyer, II             Allen Morris
  mthomas@daleeke.com                rmeyer@stites.com                    amorris@stites.com

  Charles R. Wharton                 James Bryan Johnston                 James T. Young
  Charles.R.Wharton@usdoj.gov        bjtexas59@hotmail.com                james@rubin-levin.net

  David L. LeBas                     Judy Hamilton Morse                  John M. Thompson
  dlebas@namanhowell.com             judy.morse@crowedunlevy.com          john.thompson@crowedunlevy.com

  Jessica E. Yates                   John Huffaker                        Matthew J. Ochs
  jyates@swlaw.com                   john.huffaker@sprouselaw.com         matt.ochs@moyewhite.com

  Laura Day Delcotto                 Kelly Greene McConnell               T. Kent Barber
  ldelcotto@dlgfirm.com              lisahughes@givenspursley.com         kbarber@dlgfirm.com

  Ross A. Plourde                    Walter Scott Newbern                 Kirk Crutcher
  ross.plourde@mcafeetaft.com        wsnewbern@msn.com                    kcrutcher@mcs-law.com

  Todd J. Johnston                   Timothy T. Pridmore                  Theodore A Konstantinopoulos
  tjohnston@mcjllp.com               tpridmore@mcjllp.com                 ndohbky@jbandr.com

  Karen L. Lobring                   Sandra D. Freeburger                 Lisa Koch Bryant
  lobring@msn.com                    sfreeburger@dsf-atty.com             courtmail@fbhlaw.net

  Elliott D. Levin                   John M. Rogers                       John David Hoover
  edl@rubin-levin.net                johnr@rubin-levin.net                jdhoover@hooverhull.com

  Sean T. White                      Robert H. Foree                      Sarah Stites Fanzini
  swhite@hooverhull.com              robertforee@bellsouth.net            sfanzini@hopperblackwell.com

  Michael W. McClain                 William E Smith                      Susan K. Roberts
  mike@kentuckytrial.com             wsmith@k-glaw.com                    skr@stuartlaw.com

  James Edwin McGhee                 Thomas C Scherer                     David A. Laird
  mcghee@derbycitylaw.com            tscherer@binghammchale.com           david.laird@moyewhite.com

  Jerald I. Ancel                    Jeffrey J. Graham                    Trevor L. Earl
  jancel@taftlaw.com                 jgraham@taftlaw.com                  tearl@rwsvlaw.com

  David Alan Domina                  Kent A Britt                         Joshua N. Stine
  dad@dominalaw.com                  kabritt@vorys.com                    jnstine@vorys.com




                                                       4
 9101445_1.DOC
Case 10-93904-BHL-11               Doc 1047     Filed 02/21/12         EOD 02/21/12 13:33:28            Pg 5 of 5



  Jill Zengler Julian                   Jeffrey L Hunter                      Amelia Martin Adams
  Jill.Julian@usdoj.gov                 jeff.hunter@usdoj.gov                 aadams@dlgfirm.com

  Michael Wayne Oyler                   Jason W. Cottrell                     Robert A. Bell
  moyler@rwsvlaw.com                    jwc@stuartlaw.com                     rabell@vorys.com

  James E. Rossow                       James B. Lind                         Melissa S. Giberson
  jim@rubin-levin.net                   jblind@vorys.com                      msgiberson@vorys.com

  Steven A. Brehm                       Anthony G. Raluy                      Christopher E. Baker
  sbrehm@ bgdlegal.com                  traluy@fbhlaw.net                     cbaker@hklawfirm.com

  James M. Carr                         Jack S. Dawson                        Dustin R. DeNeal
  james.carr@faegrebd.com               jdawson@millerdollarhide.com          dustin.deneal@faegrebd.com

  Shawna M. Eikenberry                  Terry E. Hall                         Jay Jaffe
  shawna.eikenberry@faegrebd.com        terry.hall@faegrebd.com               jay.jaffe@faegrebd.com

  James A. Knauer                       Erick P. Knoblock                     Harmony A. Mappes
  jak@kgrlaw.com                        eknoblock@daleeke.com                 harmony.mappes@faegrebd.com

  Christie A. Moore                     Shiv Ghuman O'Neill                   Wendy W. Ponader
  cmoore@ bgdlegal.com                  shiv.oneill@faegrebd.com              wendy.ponader@faegrebd.com

  Jeffrey E. Ramsey                     Eric C. Redman                        Joe T. Roberts
  jramsey@hopperblackwell.com           ksmith@redmanludwig.com               jratty@windstream.net

  Joseph H. Rogers                      James E. Smith                        Robert K. Stanley
  jrogers@millerdollarhide.com          jsmith@smithakins.com                 robert.stanley@faegrebd.com

  Andrew D. Stosberg                    Kevin M. Toner                        U.S. Trustee
  astosberg@lloydmc.com                 kevin.toner@faegrebd.com              ustpregion10.in.ecf@usdoj.gov

  Andrea L. Wasson                      Christopher M. Trapp                  Eric W. Richardson
  andreawassonatty@gmail.com            ctrapp@rubin-levin.net                ewrichardson@vorys.com



         I further certify that on February 21, 2012, a copy of the foregoing pleading was served
 via electronic mail transmission on the following:
  Ashley S. Rusher                      Darla J. Gabbitas
  asr@blancolaw.com                     darla.gabbitas@moyewhite.com




                                                                       /s/ Dustin R. DeNeal




                                                            5
 9101445_1.DOC
